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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

PHARO GAIA FUND, LTD. and PHARO
MACRO FUND, LTD.,
                                         Case No. 19-cv-3123 (AT)
                     Plaintiffs,         Related to 18-cv-11940 (AT)
      v.
THE BOLIVARIAN REPUBLIC OF
VENEZUELA,
                     Defendant.

CASA EXPRESS CORP, as Trustee of CASA
EXPRESS TRUST,
                                         Case No. 18-cv-11940 (AT)
                     Plaintiff,          Related to 19-cv-3123 (AT)
      v.
THE BOLIVARIAN REPUBLIC OF
VENEZUELA,
                     Defendant.




             REPLY MEMORANDUM OF LAW IN SUPPORT OF
     PLAINTIFFS’ CONSOLIDATED MOTION FOR SUMMARY JUDGMENT
      AND IN OPPOSITION TO VENEZUELA’S CROSS-MOTION TO STAY



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                                        INTRODUCTION

       Venezuela has withdrawn all of its affirmative defenses and has offered no defense to

liability in its response to Plaintiffs’ motion for summary judgment. Venezuela further concedes

that the entry of judgment is now a “ministerial act.” Venez. Br. 12. Summary judgment on

Plaintiffs’ claims therefore certainly is appropriate. Venezuela questions only the matter of

“when,” seeking from this Court an indefinite stay of the case. That request should be rejected.

       Venezuela argues that a stay is necessary to facilitate its efforts to restructure its sovereign

debt. But no such restructuring process has been initiated or even announced—nor are there any

concrete or imminent plans to do so. The reason for that is obvious: President Guaidó cannot

undertake any such restructuring as long as the Maduro regime continues to maintain its grip on

the levers of power in Venezuela. Thus, what President Guaidó has offered is that if and when he

obtains power in Venezuela and the country’s political and economic crisis subsides, then he

intends to effect a voluntary restructuring of sovereign debt. Neither equity nor international

comity supports a stay in light of such a contingent and tenuous commitment. Moreover, although

Venezuela has requested stays in other cases, this is the only case where it has requested an

indefinite stay pending its aspirational debt restructuring. Accordingly, granting a stay here would

cause unique prejudice to Plaintiffs by indefinitely suspending their legal rights while other

creditors proceed to judgment.

       Nor will entry of judgment on Plaintiffs’ claims impair Venezuela’s ability to manage its

unfolding political and economic crisis. Venezuela suggests that entry of judgment will lead

immediately to efforts to seize Venezuela’s assets to satisfy the judgments and wreck Venezuela’s

hopes for economic recovery. But any such enforcement efforts in the United States must be

preceded by an order under 28 U.S.C. § 1610(c). Thus, whether and under what circumstances

Plaintiffs later may seek to enforce their judgments through seizure of assets is an issue for another
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day. Speculation about enforcement measures that might be taken in the future is not a basis for

further delay in the adjudication of Plaintiffs’ claims.

       On the merits, Venezuela contests only Plaintiffs’ entitlement to prejudgment interest on

missed interest payments on the bonds. This objection lacks merit; courts consistently have

recognized that state, not federal, law controls the award of prejudgment interest in these

circumstances. And under New York law, which governs under the terms of the bonds and fiscal

agency agreements, prejudgment interest at the statutory rate on missed interest payments is

mandatory.    Venezuela mischaracterizes Plaintiffs’ request as seeking usurious “interest on

interest” (at 26), but, as courts repeatedly have held, prejudgment interest on missed interest

payments is necessary to compensate Plaintiffs for the lost time value of those payments.

       Finally, in a last-ditch effort to push off judgment, Venezuela urges, for the first time, that

this Court should invite briefing on potential “mechanisms” for avoiding fraud. But as Venezuela

admits, there has been discovery in these cases and there is no evidence or even suggestion of

fraud here. The purely theoretical—and entirely unfounded—possibility that some other litigant

in some other case might commit fraud on the Court does not warrant a delay of judgment.

I.     These Cases Should Not Be Stayed

       Venezuela’s core submission is that this Court should stay Plaintiffs’ cases “until such time

as the Republic is in a position to propose an orderly, consensual debt resolution plan supported

by the international community”—which Venezuela admits can occur only “once [its] political

and humanitarian crisis can be abated.” Venez. Br. 12, 17. In other words, Venezuela would have

this Court delay the entry of judgment on Plaintiffs’ claims—which Venezuela concedes are

meritorious—until (if ever) President Guaidó can unseat Maduro, revive Venezuela’s economy,

and craft a restructuring plan for all of Venezuela’s outstanding debts. Venezuela has not requested

such a breathtakingly open-ended stay in any other case, and there is no basis for granting one


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here. This Court should deny Venezuela’s motion and promptly grant Plaintiffs’ consolidated

motion for summary judgment.

        A.     This Court Should Not Stay These Cases Under Its Inherent Powers

        Staying a civil case is an “extraordinary remedy,” and a district court’s inherent power to

do so has limits. Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 98 (2d Cir. 2012).

Most relevant here, a district court lacks authority to grant a stay request that is “immoderate in

extent” or of “indefinite duration.” Clinton v. Jones, 520 U.S. 681, 707 (1997); United States v.

Banco Cafetero Int’l, 107 F.R.D. 361, 366 (S.D.N.Y. 1985).1 Courts frequently hold that a stay is

immoderate or indefinite—even when it is tied to the termination of ongoing collateral

proceedings—if it is “difficult to accurately predict the time that [the plaintiff] will be forced to

stand aside.” CTI-Container Leasing Corp. v. Uiterwyk Corp., 685 F.2d 1284, 1288 (11th Cir.

1982) (reversing stay pending proceeding before Iran-United States Claims Tribunal); United

States v. U.S. Currency in Amount of $294,600, No. 91-CV-2567, 1993 WL 416698, at *4

(E.D.N.Y. Sept. 28, 1993) (denying stay pending criminal prosecutions); see also Landis v. N. Am.

Co., 299 U.S. 248, 257 (1936) (stay “is immoderate and hence unlawful unless so framed in its

inception that its force will be spent within reasonable limits”).

        Here, Venezuela’s requested stay undisputedly is of an indefinite duration, and therefore

beyond the discretion of this Court to grant. Even when a foreign government actually is in the

midst of a debt-restructuring process, courts have found it inappropriate to stay judicial


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     See also King v. Cessna Aircraft Co., 505 F.3d 1160, 1172 (11th Cir. 2007) (“We have
     repeatedly held that a stay order which is ‘immoderate’ and involves a ‘protracted and
     indefinite period’ of delay is impermissible.”); Wedgeworth v. Fibreboard Corp., 706 F.2d
     541, 545 (5th Cir. 1983) (“‘[S]tay orders will be reversed when they are found to be
     immoderate or of an indefinite duration.’”); United States v. U.S. Currency in Amount of
     $294,600, No. 91-CV-2567, 1993 WL 416698, at *4 (E.D.N.Y. Sept. 28, 1993) (“[A] stay of
     indefinite duration cannot be granted.”).


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proceedings. See Lightwater Corp. Ltd. v. Republic of Argentina, No. 02-CV-3804, 2003 WL

1878420, at *4 (S.D.N.Y. Apr. 14, 2003) (“The court declines to grant a stay of the proceedings

in order to allow the completion of debt restructuring negotiations, since there is no assurance

about the success or the timing of such negotiations.”).

       But here Venezuela does not even request a stay pending any ongoing debt-restructuring

process; instead, it asks for a stay pending a debt-restructuring process that it admits cannot even

begin until President Guaidó seizes the levers of power in Venezuela and rebuilds its economy.

Yet the prospect of President Guaidó ever taking power in Venezuela is dwindling. See Tony

Wood, A Year on, Juan Guaidó’s Attempt at Regime Change in Venezuela Has Stalled, The

Guardian (Jan. 23, 2020), https://bit.ly/2tCnzrH (“[N]ot only has the US-backed attempt at regime

change failed to dislodge [Maduro], but it is now Guaidó’s position at the head of the Venezuelan

opposition that is looking shaky.”). And even if President Guaidó ousts Maduro, “it may take

years to stabilize the country and fully transition to another political regime,” as multiple district

courts have recognized in denying more modest stay requests from Venezuela and its

instrumentalities in other cases. Red Tree Investments, LLC v. Petróleos de Venezuela, S.A., No.

19-CV-2523, 2020 WL 209276, at *3 (S.D.N.Y. Jan. 14, 2020) (quoting OI European Grp. B.V.

v. Bolivarian Republic of Venezuela, No. 16-CV-1533, 2019 WL 5800005, at *4 (D.D.C. Nov. 1,

2019)). Here, as in those cases, it “would not be appropriate or fair to [Plaintiffs] to stay the case

indefinitely until that transition is completed,” if ever. OI European Grp., 2019 WL 5800005, at

*4; see also Red Tree, 2020 WL 209276, at *3 (same).

       The indefinite nature of Venezuela’s stay request alone requires that it be denied. What is

more, though, all of the equitable stay factors strongly counsel against any further delay in the

entry of judgment in these cases. As multiple district courts have concluded in denying much more




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limited stay requests, delaying the entry of judgment seriously prejudices creditors and taxes

judicial resources while offering no benefit to Venezuela or anyone else. E.g., Red Tree, 2020 WL

209276, at *3.

        Plaintiffs’ Interests. Paramount in the equitable analysis is Plaintiffs’ strong “interest in

an expeditious resolution” of these suits—an interest that “grows as the litigation is further

delayed.” Morgan Art Found. Ltd. v. McKenzie, No. 18-CV-4438 (AT), 2019 WL 2725625, at *2

(S.D.N.Y. July 1, 2019); Red Tree, 2020 WL 209276, at *2. Plaintiffs already have been subject

to extensive delays in these cases. Since the initiation of these suits over a year ago, Venezuela

has defaulted, received a 60-day stay, and conducted five months of discovery—before now opting

not to dispute a single fact in Plaintiffs’ 56.1 statement and conceding liability. Further delaying

the entry of judgment in these cases would substantially prejudice Plaintiffs on at least two

dimensions.

        First, it would impair Plaintiffs’ ability to resolve the debt Venezuela owes them. The

Second Circuit has recognized that because a stay in favor of sovereign restructuring proceedings

would “in effect, . . . prohibit[] the exercise of legal rights outside of the negotiations,” such a stay

would transform any supposedly “voluntary” debt restructuring into “the equivalent of a judicially-

enforced bankruptcy proceeding.” Pravin Banker Assocs., Ltd. v. Banco Popular Del Peru, 109

F.3d 850, 855 (2d Cir. 1997). And that threat is magnified here by the collective-action clauses in

the 7.75% 2019 Bonds, which allow a supermajority to bind nonconsenting creditors to the terms

of restructured bonds. See, e.g., Joint Decl., Ex. C, at 14, ECF No. 42 (2001 FAA Amendment

No. 2) (allowing supermajority to, among other things: (1) “change the due date” for interest and

principal payments; (2) “reduce the principal amount” or “the interest rate”; (3) “change the

governing law”; and (4) change “the Republic’s agreement not to claim and to waive irrevocably




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any immunity”). A judgment would protect the Pharo Plaintiffs—who hold beneficial interests in

the 7.75% 2019 Bonds—from such a compulsory restructuring of their debts. A stay, on the other

hand, would prejudice the Pharo Plaintiffs by denying them that protection.

        Second, a stay would leave Plaintiffs in limbo “while other creditors are free to continue

toward judgments, enforcement of awards, or attachment of the same assets to which Plaintiff[s]

claim[] entitlement.” Red Tree, 2020 WL 209276, at *2. To Plaintiffs’ knowledge, there are

currently over 30 cases pending against Venezuela and its state-owned oil company, Petróleos de

Venezuela, S.A. (“PDVSA”), in numerous different courts. See Letter, Ex. 1, ECF No. 23-1.2 In

a number of those cases, creditors already have judgments and are seeking to execute on

Venezuela’s assets. See, e.g., Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, No. 17-

MC-151 (D. Del.) (“Crystallex”). Most of these cases have not been stayed at all, and no court

has granted an application from Venezuela for the kind of indefinite stay it seeks here. In fact,

Plaintiffs are not aware of any other case in which Venezuela has even requested an indefinite stay

pending the restructuring of its debt. And several district courts have recently denied much more

limited stay requests:

            Red Tree: In two related cases against PDVSA, both filed after Plaintiffs’ lawsuits,
             Judge Nathan denied PDVSA’s request for a 120-day stay. E.g., 2020 WL 209276.
             Judge Nathan did so based on “the prejudice to Plaintiff” that would result if (1) “later-
             filed claims ultimately obtain priority,” and (2) ongoing execution efforts by other
             creditors “impact [Plaintiff’s] ability to recover any judgment.” Id. at *2–3.

            OI European Group: In an arbitration-enforcement action, Judge Jackson rejected
             Venezuela’s request for a 120-day stay and granted a creditor leave to seek attachment
             and execution of Venezuela’s assets to satisfy a $400 million judgment. 2019 WL
             5800005, at *1. The court found nothing to suggest “that the Guaidó government will
             be in a position to do anything other than request another stay at the end of the 120


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     See also ACLI Investments Ltd. et al. v. Bolivarian Republic of Venezuela, No. 19-CV-9014
     (S.D.N.Y.); Contrarian Capital Mgmt. v. Bolivarian Republic of Venezuela, No. 19-CV-11018
     (AT) (S.D.N.Y.); Lovati v. Petróleos de Venezuela, S.A., No. 20-CV-269 (S.D.N.Y.).


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            days,” and concluded that a “stay in this case would only serve to delay plaintiff’s
            entitlement to a judgment.” Id. at *4.

           Dresser-Rand: In another case against PDVSA, also filed after Plaintiffs’ suits, Judge
            Stanton initially deferred PDVSA’s response to the plaintiff’s summary judgment
            motion under Rule 56(d), but later reversed course. No. 19-CV-2689, ECF No. 44
            (“No further extensions are contemplated.”). The plaintiff’s motion for summary
            judgment has been fully briefed since December, and PDVSA has not sought a further
            stay.

       Ignoring these orders, Venezuela instead relies exclusively on the stay order that Chief

Judge Stark recently entered in the Crystallex litigation. See Crystallex Int’l Corp. v. PDV Holding

Inc., No. 15-CV-1082, 2019 WL 6785504 (D. Del. Dec. 12, 2019). But as Judge Nathan

recognized in Red Tree, that stay is not analogous to what Venezuela requests here. 2020 WL

209276, at *2 n.1.

       In Crystallex, Chief Judge Stark allowed Crystallex (a creditor of Venezuela) to attach

shares of CITGO’s holding company (shares owned by PDVSA) because PDVSA is the alter ego

of Venezuela. 333 F. Supp. 3d 380 (D. Del. 2018). Last summer, the Third Circuit unanimously

affirmed the attachment. 932 F.3d 126 (3d Cir. 2019). In the order Venezuela repeatedly cites,

Chief Judge Stark entered a stay pending appeal under Rule 62(c), temporarily halting Crystallex’s

efforts to auction off the attached shares, in order to give Venezuela and PDVSA time to seek

Supreme Court review of the underlying alter ego finding. Crystallex, 2019 WL 6785504, at *2.

Chief Judge Stark concluded that Crystallex would not be prejudiced by the temporary stay

because it had established priority in the shares and thus is “fully secured for whatever the value

is of those assets.” Id. at *2 n.4. Although he mentioned Venezuela’s crisis as among the nine

factors influencing his stay decision, Chief Judge Stark made clear that those considerations would

not support a further stay: “If the Supreme Court proceedings do not alter the Third Circuit’s

instructions to this Court, the Court intends to proceed toward selling those shares.” Id.




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        The Crystallex stay thus has no bearing on this case. It is a limited stay of asset execution

by a fully secured creditor designed to give Venezuela time to challenge the legality of the

underlying alter ego finding through the appellate process. Here, by contrast, Venezuela is seeking

an indefinite stay of the mere entry of judgment on claims Venezuela concedes are meritorious.

Venezuela cites no case granting a stay under similar circumstances.3 A stay here would thus

prejudice Plaintiffs vis-à-vis other creditors of Venezuela.

        Venezuela seeks to minimize that prejudice, arguing that U.S. sanctions implemented by

the Treasury Department’s Office of Foreign Asset Control (“OFAC”) have essentially frozen all

Venezuela’s creditors in place, and that Plaintiffs therefore will not fall behind other creditors. But

as Venezuela acknowledges, the sanctions prohibit only the unlicensed “enforcement of

any . . . judgment . . . through execution, garnishment, or other judicial process purporting to

transfer or otherwise alter or affect property or interests in property blocked pursuant to

[sanctions].” 31 C.F.R. §§ 591.506(c), 407; Venez. Br. 9–10. They do not prohibit the entry of

judgment against Venezuela and PDVSA. See OFAC, Frequently Asked Questions No. 808,

https://bit.ly/2v9LQpc (specific license not needed to “continue U.S. legal proceedings”). And if

the entry of judgment is delayed in these cases, the many creditors who already have final

judgments or obtain them in the interim will have distinct advantages over Plaintiffs, including

(vis-à-vis the Pharo Plaintiffs) not being subject to the prospect of compulsory restructuring.


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     The other cases cited by Venezuela are even further afield. See Order, Helmerich & Payne
     Int’l Drilling Co. v. Bolivarian Republic of Venezuela, No. 11-CV-1735 (D.D.C. Feb. 15,
     2019), ECF No. 133 (staying case on plaintiff-creditor’s motion); Plaintiffs’ Status Report,
     Comparelli v. Republica Bolivariana de Venezuela, No. 14-CV-24414 (S.D. Fla. Sept. 28,
     2019), ECF No. 173 (plaintiffs agreeing to further 120-day stay); Order, Rusoro Mining Ltd.
     v. Bolivarian Republic of Venezuela, No. 18-7044 (D.C. Cir. Feb. 14, 2019), Doc. 1773506
     (clerk order granting briefing extension); Doc. No. 1790740 (June 3, 2019) (granting
     Venezuela’s unopposed motion to hold appeal in abeyance pending final resolution of
     proceedings in France to set aside the arbitration award plaintiff is seeking to enforce).


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       Moreover, creditors with final judgments can request “specific licenses” from OFAC to

enforce their judgments, and may be granted such licenses while Plaintiffs have been sidelined.

See 31 C.F.R. § 591.501; see also OFAC, Frequently Asked Questions No. 74,

https://bit.ly/2RjyQG4. Crystallex, for example, has indicated that it will attempt to get OFAC’s

authorization to auction off the controlling shares in CITGO. See Crystallex Int’l Corp. v.

Bolivarian Republic of Venezuela, No. 17-MC-151, ECF No. 157 at 7 (Dec. 19, 2019). Further

delay in the entry of judgment here would deny Plaintiffs any possibility of participating in that

process. In addition, even if OFAC were to refuse to grant specific licenses to any creditors,

creditors with judgments in hand will be much better positioned to pursue enforcement remedies

and protect their legal interests once the sanctions against Venezuela are modified or lifted.

       Finally, unable to meaningfully dispute the harm that a stay would cause Plaintiffs,

Venezuela suggests that Plaintiffs’ harm is self-inflicted because Plaintiffs purchased the bonds at

a “material discount” and therefore should have known that the “prospects for timely repayment

were remote.” Venez. Br. 9. But whatever Plaintiffs’ expectations about the timeliness of

repayment, Plaintiffs fully and justifiably expected that they would be able to exercise the same

legal rights as other creditors to timely reduce their contract claims to judgment. Venezuela’s

proposed stay would rob Plaintiffs of those legal rights while other creditors freely exercise theirs.

       Defendant’s Interests. In contrast to Plaintiffs, Venezuela will suffer no prejudice from

the Court’s entry of judgment in these cases. Plaintiffs’ summary judgment motion does not seek

attachment of Venezuela’s assets—it asks this Court simply to determine liability (which is

undisputed) and fix damages (which are largely undisputed). The mere entry of judgment will not

exacerbate Venezuela’s crisis or contribute to a “run on the bank.” Venez. Br. 10–11. Any

enforcement efforts in the United States must be preceded by an order under 28 U.S.C. § 1610(c),




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which requires a “reasonable period of time” to elapse “following the entry of judgment.” If and

when Plaintiffs seek such an order, Venezuela will be free to make its claims of hardship at that

time, in view of the facts then existing.

       Nor can Venezuela claim that this litigation itself imposes undue burdens on its

infrastructure. Indeed, in another case filed within this District, the Guaidó-appointed board of

PDVSA recently sued to pursue its own claims against creditors, see Petróleos de Venezuela, S.A.

et al. v. MUFG Union Bank, N.A. et al., No. 19-CV-10023 (S.D.N.Y), apparently finding that the

maintenance of such litigation did not impair Venezuela’s interests. There is no need for this Court

to resort to the “extraordinary remedy” of a stay to protect Venezuela’s interests. Louis Vuitton,

676 F.3d at 98.

       Judicial Efficiency. Judicial efficiency is served by resolving these cases promptly. See

Red Tree, 2020 WL 209276, at *2 (“[T]he judicial interest in favor of resolving cases on their

merits also weights in favor of granting a stay.”). Now that Venezuela has conceded liability, it

would be wasteful for the Court to indefinitely maintain jurisdiction over these cases, adjudicating

stay motion after stay motion. The far more efficient course is to promptly enter judgment, which

Venezuela concedes is now a “ministerial act.” Venez. Br. 12. And entering judgment would not

be an “empty act,” as Venezuela maintains (id.)—rather, it would provide Plaintiffs the benefits

of a final judgment and would allow Plaintiffs to begin the enforcement process, should they wish

to do so.

       Public Interest. The public interest likewise cuts against a stay. The “United States has a

strong interest in ensuring the enforceability of valid debts under the principles of contract law,”

and Venezuela’s proposed stay threatens to make Plaintiffs’ concededly valid contract claims

subject to a judicially enforced restructuring regime that neither the Foreign Sovereign Immunities




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Act (“FSIA”) nor Venezuela’s bond documents provides. Pravin, 109 F.3d at 855. Venezuela

suggests that U.S. sanctions manifest the public interest in supporting the Guaidó administration

and “prevent[ing] further diverting of Venezuela’s assets.” Venez. Br. 13. But, again, those

sanctions apply to the enforcement of judgments, not the entry of judgment. Unlike sanctions the

President has adopted in the past, the U.S. sanctions against Venezuela do not suspend litigation

or prohibit courts from entering judgment on valid claims against Venezuela. Cf. Exec. Order No.

12,294, 46 Fed. Reg. 14,111 (1981); see also Dames & Moore v. Regan, 453 U.S. 654, 686 (1981).

The prompt entry of judgment in these cases thus is consistent with U.S. sanctions and advances

the public interest in the enforcement of valid contracts.

       Non-Parties. The interests of non-parties here, although negligible, also militate against a

stay. For the reasons already discussed, the mere entry of judgment in these cases will not affect

the crisis in Venezuela at all, much less endanger “[h]umanitarian interests and human-rights

protections.” Venez. Br. 12. Nor will it unjustly disadvantage other creditors.

       In short, all of the equitable factors point strongly in favor of proceeding directly to

judgment in these cases. This Court should deny Venezuela’s stay request.

       B.      Venezuela Is Not Entitled To A Stay As A Matter Of International Comity Or
               International Law

       In the absence of equitable grounds for a stay, Venezuela cobbles together a mash of

comity, international law, and inapposite contract principles to seek a stay “based on international

comity.” Venez. Br. 14. Yet Venezuela does not cite a single case in which a court has granted

an indefinite stay in a private bondholder suit against a sovereign. In fact, several of the cases it

cites make clear that international comity does not support a stay in such circumstances. In this

case, which is governed by New York law (because that is what Venezuela chose in its bond




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documents), Venezuela’s resort to abstract principles of international comity fares no better than

its invocation of equity.

                1.      International Comity Does Not Support A Stay

        International comity provides no basis for a stay here. International comity is “the

recognition which one nation allows within its territory to the legislative, executive or judicial acts

of another nation.” Hilton v. Guyot, 159 U.S. 113, 164 (1895). Comity is not, however, an absolute

“rule of law, but one of practice, convenience, and expediency.” Somportex Ltd. v. Phila. Chewing

Gum Corp., 453 F.2d 435, 440 (3d Cir. 1971).

        Here, there is no foreign “legislative, executive or judicial act[]” for this Court to recognize.

Hilton, 159 U.S. at 164. Rather, Venezuela merely has stated that it hopes to conduct a “voluntary”

debt restructuring, when (if ever) President Guaidó takes power in Venezuela. Venezuela’s

ambition that, at some point in the future, it will effect a restructuring of its debt is not the kind of

sovereign act to which courts extend international comity. See Zurich v. Banco Economico S.A.,

No. 98-CV-5, 1998 WL 205341, at *3 (S.D.N.Y. Apr. 28, 1998) (“[W]hen a non-judicial act of a

foreign government imperils the right of the creditor to collect at all (or at least to do so in the

foreseeable future), deference to that act is inappropriate.”).

        For this reason, Venezuela’s extensive reliance on Canada Southern Railway Co. v.

Gebhard, 109 U.S. 527 (1883), is misplaced. In that case, the Supreme Court gave “binding”

extraterritorial effect to Canadian legislation that restructured the debt of a state-sponsored railroad

corporation with the assent of a supermajority of bondholders. Id. at 536, 530–31. Invoking

comity, the Court held that domestic bondholders objecting to the legislative restructuring could

not seek relief in U.S. courts, saying that under “the true spirit of international comity,”

restructurings “of this character, legalized at home, should be recognized in other countries.” Id.

at 539. Canada Southern thus stands for the unremarkable proposition that U.S. courts generally


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decline to interfere with ongoing foreign bankruptcy proceedings. See, e.g., Cunard S.S. Co. v.

Salen Reefer Servs. AB, 773 F.2d 452, 460 (2d Cir. 1985) (citing Canada Southern and affirming

vacatur of an attachment order in light of ongoing bankruptcy proceedings in Sweden); Cornfeld

v. Inv’rs Overseas Servs., Ltd., 471 F. Supp. 1255, 1260–61 (S.D.N.Y. 1979) (citing Canada

Southern and dismissing complaint in light of ongoing bankruptcy proceedings in Canada); see

also 11 U.S.C. § 1515 (providing for domestic recognition of certain foreign restructurings). That

principle has no application here, as there is no existing, or even proposed, foreign bankruptcy

proceeding.

       Equally misplaced is Venezuela’s reliance on cases finding comity principles applicable to

ongoing sovereign debt-restructuring proceedings. See Pravin, 109 F.3d 850; Allied Bank Int’l v.

Banco Credito Agricola de Cartago, 757 F.2d 516 (2d Cir. 1985). In those cases, the foreign

sovereigns had entered restructuring agreements and taken significant steps toward resolving their

debts. See Pravin, 109 F.3d at 852 (Peru entered a restructuring agreement and “made significant

strides in restructuring its economy, reducing inflation, and decreasing the government deficit”);

Allied Bank, 757 F.2d at 519 (Costa Rica “signed a refinancing agreement with the coordinating

agent for Costa Rica’s external creditors”). And of course, in applying comity principles, the Court

in each of those cases ultimately agreed with the creditors that no stay was warranted.

       Here, by contrast, there is no existing (or even imminent) restructuring proceeding to which

international comity could be extended. Rather, what Venezuela aspires to here is a future

restructuring that is purely “voluntary.” Venez. Br. 11, 19; see also id. at 17 (promising a

“consensual resolution”). If Plaintiffs’ participation in Venezuela’s proposed restructuring is

indeed to be “voluntary,” then it makes no sense to demand that Plaintiffs be compelled to hold off

while other parties (maybe) participate in an (eventual) restructuring that will have no effect on




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Plaintiffs’ claims. See Pravin, 109 F.3d at 855. There is no basis to invoke international comity

to prevent them from doing so.

       In fact, even if considerations of comity were relevant here, the very cases on which

Venezuela relies demonstrate that Venezuela’s promise of “voluntary” restructuring does not

warrant a stay. Although the Court in Allied Bank agreed that international comity was a relevant

consideration in that context, it emphasized even then that a stay based on international comity is

inappropriate if it would be “inconsistent with the law and policy of the United States.” Allied

Bank Int’l, 757 F.2d at 522. And in Pravin, the Second Circuit held that an indefinite stay of

litigation pending even an ongoing voluntary debt-restructuring process is inconsistent with the

strong U.S. policy of “ensuring the enforceability of valid debts under the principles of contract

law, and in particular, the continuing enforceability of foreign debts owed to United States

lenders.” Pravin, 109 F.3d at 855 (citing, inter alia, Allied Bank Int’l, 757 F.2d at 521–22). The

Second Circuit therefore refused to deny the creditor in that case “its right to enforce the underlying

debt—despite clear United States policy that it be able to do so—by making [the creditor’s] rights

conditional on the completion of a process which had no obvious (and reasonably proximate)

termination date.” Id. Pravin’s reasoning applies with even greater force here, as there are no

ongoing restructuring negotiations, nor is there any indication that such negotiations are likely to

take place at any time in the near or even reasonably foreseeable future.

       Venezuela responds that “the Executive Branch’s commitment to ‘rebuilding Venezuela’s

infrastructure and economy’” counsels in favor of a stay. Venez. Br. 18–19. But that is the precise

argument rejected by the Second Circuit in Allied Bank—on which Venezuela itself relies. There,

the Court accepted the United States’ position that the Executive’s “willingness to restructure

Costa Rica’s intergovernmental obligations or . . . [the] continued United States aid” did not mean




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a stay or dismissal was warranted. 757 F.2d at 520. That the Executive supports Venezuela’s

economic rebuilding does not mean it believes Venezuela should be immune from creditor

litigation in U.S. courts.

        In fact, the Executive has already set forth its foreign policy position with respect to

litigation against Venezuela in the form of OFAC sanctions. See 31 C.F.R. Part 591 (Venezuela

Sanctions Regulations). And while those sanctions impose various restrictions on the transfer of

Venezuela’s assets, see, e.g., Exec. Order No. 13,884, 84 Fed. Reg. 38,843 (2019); 31 C.F.R.

§ 591.201, none of them prevents plaintiffs from bringing suit and obtaining judgment to enforce

debt obligations, see OFAC, Frequently Asked Questions No. 808, https://bit.ly/2v9LQpc. Courts

have long recognized that foreign affairs is “a domain in which the controlling role of the political

branches is both necessary and proper.” Bank Markazi v. Peterson, 136 S. Ct. 1310, 1328 (2016).

The United States having expressed its view as to the propriety of sovereign-debt litigation against

Venezuela, this Court has no occasion to second-guess that judgment. See Chi. & S. Air Lines,

Inc. v. Waterman S.S. Corp., 333 U.S. 103, 111 (1948) (“[Foreign policy decisions] are decisions

of a kind for which the Judiciary has neither aptitude, facilities nor responsibility and have long

been held to belong in the domain of political power not subject to judicial intrusion or inquiry.”).

U.S. policy does not support a stay here.

                2.      International Law Does Not Support A Stay

        Next, Venezuela invokes the international law doctrine of “necessity,” contending that its

“financial obligations may temporarily be deferred” while it resolves its economic issues. Venez.

Br. 20. The doctrine of necessity, however, is a substantive defense to liability that, if successfully

raised, “preclude[s] the wrongfulness of state conduct that might otherwise breach” international

law. Robert D. Sloane, On the Use and Abuse of Necessity in the Law of State Responsibility, 106

Am. J. Int’l Law 447, 449 (2012). Venezuela has withdrawn its affirmative defenses to liability.


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See First Am. Answer, ECF No. 32-1. It cannot revive those abandoned defenses under the guise

of a request for a “stay.” Having made a strategic decision not to contest liability, Venezuela may

not obtain an effective victory on the merits (i.e., a stay of indefinite and potentially infinite

duration) through backdoor means. Cf. Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,

460 U.S. 1, 28 (1983) (“[A] stay is as much a refusal to exercise federal jurisdiction as a

dismissal.”). In any event, regardless whether Venezuela invokes the doctrine of necessity as a

defense to liability or grounds for a stay, that effort fails.

        First, customary norms of international law like the doctrine of “necessity” do not apply

here because the parties’ respective obligations are explicitly governed by the terms of the bonds

and fiscal agency agreements, which in turn are governed by New York law, not international law.

International law applies in U.S. courts only “as often as questions of right depending upon it are

duly presented for their determination.” The Paquete Habana, 175 U.S. 677, 700 (1900); see also

Tarros S.p.A. v. United States, 982 F. Supp. 2d 325, 338 n.12 (S.D.N.Y. 2013) (the applicability

of international law is “restricted to ‘limited enclaves,’” such as the Alien Tort Statute). These

cases present no international law questions. Here, the parties have entered into private agreements

that define their respective rights and obligations, and they selected New York law—not

international law—to govern their disputes. Joint Decl., Ex. A, at 25, ECF No. 42-1; id. Ex. B, at

26, ECF No. 42-2. Having so elected, Venezuela’s status as a foreign sovereign does not entitle it

to raise extra-contractual international law defenses not available to private litigants under New

York law. Cf. Lehman Bros. Commercial Corp. v. Minmetals Int’l Non-Ferrous Metals Trading

Co., 179 F. Supp. 2d 118, 138 (S.D.N.Y. 2000) (enforcing choice-of-law clause in international

contract).




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       In fact, the FSIA provides that where a foreign sovereign is not entitled to immunity, “the

foreign state shall be liable in the same manner and to the same extent as a private individual under

like circumstances.” 28 U.S.C. § 1606. The doctrine of necessity is not available to a private party

sued under New York contract law, and it is not available to Venezuela.

       Second, even if international law were generally relevant to this dispute, there is no

universally recognized norm of international law providing for a defense of necessity in the

circumstances presented here. International norms are not incorporated into federal common law

unless and until they become “accepted by the civilized world and defined with . . . specificity.”

Sosa v. Alvarez-Machain, 542 U.S. 692, 725 (2004). The norm must be a “settled rule of

international law,” established by “general assent of civilized nations.” The Paquete Habana, 175

U.S. at 694; see also United States v. Smith, 18 U.S. 153, 160 (1820) (norm must be established

“with reasonable certainty”). And that requirement “is a stringent one.” Filartiga v. Pena-Irala,

630 F.2d 876, 881 (2d Cir. 1980).

       Although a state of necessity may be invoked as a defense to a claimed violation of

international law, it does not follow that such a defense is available in cases between private parties

involving breaches of contracts governed by national laws. The Articles on Responsibility of

States for International Wrongful Acts (on which Venezuela relies) explains that the defense of

necessity excuses only a breach of an “international obligation”—that is, an obligation imposed

by international law. Articles on Responsibility of States for Internationally Wrongful Acts, Art.

25.1, https://bit.ly/1J3uYdk.

       Here, the basis for Plaintiffs’ claims is New York contract law. See Notice of Removal,

Ex. A, at 4–9, ECF No. 1-1 (Complaint). To be sure, a breached fiscal obligation can give rise to

international-law claims against a foreign sovereign, as in the case Venezuela cites regarding a




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bilateral investment treaty. See Cont’l Cas. Co. v. Argentine Republic, ICSID Case No. ARB/03/9,

Award, ¶ 1 (Sept. 5, 2008) (case based on “alleged breaches of [claimant’s] rights as investor under

the 1991 Treaty between the United States of America and the Argentine Republic”); see also

LG&E Energy Corp. v. Argentine Republic, ICSID Case No. ARB/02/1, Decision on Liability,

¶ 1–3, 9 (Oct. 3, 2006) (same). But where, as here, a plaintiff sues a foreign sovereign under a

private contract, there is no recognized international norm of a defense of necessity.

       In fact, the German Constitutional Court held precisely that in the Argentine Necessity

Case, Bundesverfassungsgerichts [BVerfG] [Federal Constitutional Court] May 8, 2007, 138

I.L.R. 1 (attached as exhibit). There, in a private suit seeking payment on bond obligations

governed by private contracts, the court concluded that Argentina could not invoke the

international doctrine of necessity because “there is no evidence for a State practice based on the

necessary legal conviction . . . to extend the legal justification for the invocation of State necessity

to relationships under private law involving private creditors.” Id. at 10; see also id. (“Invocation

of State necessity is recognized in customary international law in those legal relationships which

are exclusively subject to international law . . . .” (emphasis added)). The court undertook the same

analysis called for under U.S. law—examining whether there was a “general rule of international

law” applicable to that dispute, id. at 9—and concluded the defense was unavailable. Venezuela

has offered no evidence of an international norm providing for the defense of necessity in a case,

such as this one, where the parties’ respective obligations are governed by private contract law,

and one court of international repute has squarely rejected such a norm. Venezuela cannot take

advantage of that defense here.

       Third, even if international law were applicable, and even if there were an international

norm of necessity applicable to this case, Venezuela has failed to set forth facts establishing that




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defense. The defense of necessity is available only in “exceptional cases,” and “is subject to strict

limitations to safeguard against possible abuse.” Draft Articles on Responsibility of States for

Internationally Wrongful Acts, with Commentaries, Art. 25 ¶¶ 1–2, https://bit.ly/1MIyM9V. It is

available only where the wrongful conduct “is the only way for the State to safeguard an essential

interest against a grave and imminent peril,” and “does not seriously impair an essential interest of

the State or States toward which the obligation exists, or of the international community as a

whole.” Articles on Responsibility of States for Internationally Wrongful Acts, Art. 25.1.

        Here, the narrow defense of necessity is not available to Venezuela. In May of 2019—well

after Venezuela first defaulted on the bonds at issue here—Venezuela (and in particular, the

Guaidó government that directs this litigation) made a $71 million interest payment to holders of

bonds issued by PDVSA, set to mature in 2020. See Corina Pons & Mayela Armas, Venezuela’s

Ad-hoc PDVSA Board Begins Payment on Citgo-backed 2020 Bond, Reuters (May 16, 2019),

https://reut.rs/2LohLsd. Since then, PDVSA has filed a lawsuit seeking to void those bonds. See

Complaint, Petróleos de Venezuela, S.A. v. MUFG Union Bank, N.A., No. 19-CV-10023 (S.D.N.Y.

Oct. 29, 2019). Regardless of the fiscal state of Venezuela, it plainly has adequate resources to

pay those bondholders it deems sufficiently important to its own interest and to prosecute

affirmative litigation in U.S. federal courts. All that is left in this case is one more brief filing and

a decision by this Court. Surely if Venezuela has assets to pay certain select creditors and bring

lawsuits, a single brief will not cripple it.

                3.      Impossibility Is Not A Defense

        Abandoning all precedent or record evidence, Venezuela lastly asserts that a stay is

necessary because “it is impossible for the Republic to perform or settle its debts and obligations

at this time and in the absence of an economic turnaround.” Venez. Br. 22. The reason for

Venezuela’s dearth of authority is apparent—New York law is clear that a purported inability or


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impossibility to pay debts is not a defense to breach of a private contract. See 407 E. 61st Garage,

Inc. v. Savoy Fifth Ave. Corp., 244 N.E.2d 37, 41 (N.Y. 1968) (“[W]here impossibility or difficulty

of performance is occasioned only by financial difficulty or economic hardship, even to the extent

of insolvency or bankruptcy, performance of a contract is not excused.”). And even to the extent

international law could be relevant to this dispute, Venezuela cites no norm of international law

that would permit it to avoid liability on impossibility grounds.

                                               ***

       There is no basis for a stay of any duration here. Venezuela has not restructured, is not in

the midst of restructuring, and has not even begun restructuring, its debt. Plaintiffs will be

prejudiced if they, among all other creditors, must wait indefinitely while President Guaidó’s

government attempts to obtain control in Venezuela and restructure the economy. At issue here is

only the question of whether Plaintiffs may obtain a judgment—the issue of attachment of assets

is not before the Court. There are no equitable or comity principles justifying a stay in these

circumstances.

II.    Plaintiffs Are Entitled To Prejudgment Interest Under New York Law

       On the merits, Venezuela disputes only Plaintiffs’ entitlement to prejudgment interest on

missed interest installments due under the bonds. But prejudgment interest on missed interest

payments is not discretionary in these cases. New York law, which applies by the terms of the

parties’ contracts and under the FSIA, requires this Court to award Plaintiffs prejudgment interest

at New York’s statutory rate of 9% on all missed interest payments, including those that come due

post-maturity. Even under federal prejudgment interest principles, however, application of New

York’s statutory rate still is necessary to provide Plaintiffs’ full compensation. As the New York

Court of Appeals has explained, “the loss of the time value” of missed interest payments “can be




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accomplished only by awarding . . . statutory interest on the unpaid interest-only payments.” NML

Capital v. Republic of Argentina, 952 N.E.2d 482, 494 (N.Y. 2011).

       A.      The Parties’ Contracts And The FSIA Require The Application Of New
               York’s Prejudgment Interest Statute

       Venezuela does not dispute that the parties’ contracts call for the application of New York

law or that, under New York law, a 9% prejudgment interest rate would be “mandatory” in these

breach-of-contract actions. New England Ins. Co. v. Healthcare Underwriters Mut. Ins. Co., 352

F.3d 599, 603, 606 (2d Cir. 2003); see also CPLR 5001(a) (“Interest shall be recovered upon a

sum awarded because of a breach of performance of a contract . . . .” (emphasis added)); CPLR

5004. Venezuela further concedes that the New York statutory rate would apply in a state-court

action involving a foreign sovereign as well as in a federal-court diversity action involving private

parties. Venez. Br. 24. Yet Venezuela argues that the FSIA requires a different outcome—the

application of federal, judge-made prejudgment interest principles—when foreign sovereigns are

sued in, or remove to, federal court.

       The FSIA says just the opposite. It provides that a “foreign state shall be liable in the same

manner and to the same extent as a private individual under like circumstances.” 28 U.S.C. § 1606.

Based on that provision, the Supreme Court and the Second Circuit have held that the FSIA

“operates as a ‘pass-through’ to state law principles.” Pescatore v. Pan Am. World Airways, Inc.,

97 F.3d 1, 12 (2d Cir. 1996); see also First Nat. City Bank v. Banco Para El Comercio Exterior

de Cuba, 462 U.S. 611, 622 (1983) (“[W]here state law provides a rule of liability governing

private individuals, the FSIA requires the application of that rule to foreign states in like

circumstances.”). Congress, in other words, “did not intend that the FSIA establish substantive

rules of liability.” Bank of New York v. Yugoimport, 745 F.3d 599, 609 n.8 (2d Cir. 2014). Rather,




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it intended to make “state substantive law . . . controlling in FSIA cases.” Barkanic v. Gen. Admin.

of Civil Aviation of the People’s Republic of China, 923 F.2d 957, 959 (2d Cir. 1991).

        It is well established that the “awarding of prejudgment interest is considered a question of

substantive law,” Schwimmer v. Allstate Ins. Co., 176 F.3d 648, 650 (2d Cir. 1999), because

prejudgment interest “is an element of [the plaintiff’s] complete compensation,” Osterneck v. Ernst

& Whinney, 489 U.S. 169, 175 (1989); see also Perceptron, Inc. v. Sensor Adaptive Machines,

Inc., 221 F.3d 913, 922 (6th Cir. 2000) (“Prejudgment interest is a substantive element of damage

which must be determined under state law . . . .”). Federal courts thus routinely apply state

prejudgment interest law in FSIA cases where, as here, the plaintiff’s claim arises under state law.

See, e.g., Capital Ventures Int’l v. Republic of Argentina, 552 F.3d 289, 296 (2d Cir. 2009)

(applying New York’s statutory prejudgment interest rate); NML Capital v. Republic of Argentina,

435 F. App’x 41, 42 (2d Cir. 2011) (same).4

        Venezuela cites not one decision to the contrary involving the FSIA, instead relying on

inapposite cases applying federal prejudgment interest principles for claims arising under other

federal statutes. See, e.g., Endico Potatoes, Inc. v. CIT Grp./Factoring, Inc., 67 F.3d 1063, 1071

(2d Cir. 1995) (“The claim asserted by the Producers is purely a product of a federal statute . . . .”).

Going even further afield, Venezuela relies on cases involving the federal postjudgment interest

rate. See, e.g., FCS Advisors, Inc. v. Fair Fin. Co., 605 F.3d 144, 148 (2d Cir. 2010). Those cases

merely establish that the federal postjudgment rate will apply to the judgments in these cases,


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     See also Felice Fedder Oriental Art, Inc. v. Scanlon, 708 F. Supp. 551, 559 (S.D.N.Y. 1989)
     (applying New York prejudgment interest law because “New York law governs the question
     of damages in this case”); Lanny J. Davis & Assocs. LLC v. Republic of Equatorial Guinea,
     962 F. Supp. 2d 152, 164 (D.D.C. 2013) (“Because prejudgment interest is a component of a
     plaintiff’s compensation for a breach of contract claim, D.C. law applies.”); CapitalKeys, LLC
     v. Democratic Republic of Congo, 278 F. Supp. 3d 265, 291 (D.D.C. 2017) (applying D.C.
     prejudgment interest law for breach-of-contract claim).


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which Plaintiffs do not dispute. See Pls.’ Mot. 19. That is so because a federal statute governs the

rate of interest to be applied to judgments issued by federal district courts. See 28 U.S.C. § 1961(a).

Courts are obligated to apply that rate, even in diversity cases, unless the parties unambiguously

contract around it. See Cappiello v. ICD Publ’ns, Inc., 720 F.3d 109, 112 (2d Cir. 2013). By

contrast, there “is no federal statute that purports to control the rate of prejudgment interest.” Jones

v. UNUM Life Ins. Co. of Am., 223 F.3d 130, 139 (2d Cir. 2000). Instead, the controlling federal

statute here is the FSIA, which (as discussed) requires the application of substantive state law

principles, including state law regarding prejudgment interest. See Barkanic, 923 F.2d at 959.

        This Court therefore must apply New York’s prejudgment interest statute and award 9%

interest on each missed biannual interest payment starting from the date of each missed payment.

See NML Capital, 952 N.E.2d at 488. That not only aligns with the parties’ expectations, as

expressed in the choice-of-law clauses in the parties’ contracts, but also avoids the anomaly that

would result if Venezuela were permitted to alter the rule of decision for prejudgment interest

merely by removing a case from state court to federal court (as it did here in the Pharo case).

        B.      The Court Should Apply New York’s Statutory Rate Under Federal
                Prejudgment Interest Principles

        The Court should reach the same result even if federal prejudgment interest principles were

to apply here. “Whether pre-judgment interest is awarded under federal or state law, federal courts

have ordinarily looked to state law in determining the appropriate interest rate.” In re Crazy Eddie

Sec. Litig., 948 F. Supp. 1154, 1167 (E.D.N.Y. 1996); see also SEC v. Musella, 748 F. Supp. 1028,

1043 (S.D.N.Y. 1989), aff’d, 898 F.2d 138 (2d Cir. 1990). This is the “majority approach” in

private federal securities actions. Deng v. 278 Gramercy Park Grp. LLC, No. 12-CV-7803, 2014

WL 1016853, at *11 (S.D.N.Y. Mar. 14, 2014). It is also consistent with the approach adopted by

Judge Griesa and the Second Circuit in the Argentina bond litigation. See NML Capital, Ltd. v.



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Republic of Argentina, No. 05-CV-2434, 2009 WL 1528535, at *2 (S.D.N.Y. May 29, 2009)

(“[P]laintiffs here are entitled to statutory interest on interest accruing under the contract even after

maturity.”); NML Capital, 435 F. App’x 41.

        More importantly, application of New York’s statutory rate is necessary “to fully

compensate [Plaintiffs] for actual damages suffered.” Wickham Contracting Co. v. Local Union

No. 3, Int’l Bhd. of Elec. Workers, AFL-CIO, 955 F.2d 831, 834 (2d Cir. 1992). Venezuela

pejoratively casts Plaintiffs’ request for “prejudgment interest on interest” as “over-

compensation,” suggesting that the bonds’ biannual interest payments will be fully compensatory

once paid. Venez. Br. 26–27. But that is incorrect.

        The bonds’ biannual interest payments are “designed to reimburse [Plaintiffs] for the loss

of use of the principal during the relevant . . . time interval.” NML Capital, 952 N.E.2d at 494

(emphasis added). Because the biannual interest payments continue to accrue post-maturity,

Plaintiffs have not requested statutory prejudgment interest on Venezuela’s missed principal

payments. See Pls.’ Mot. 16. But statutory prejudgment interest is necessary to fully compensate

Plaintiffs for the missed biannual interest payments themselves. As the New York Court of

Appeals has explained, “statutory interest on . . . unpaid interest payments compensates the

bondholders for a different loss—the failure of the issuer to timely make the interest-only

payments.” NML Capital, 952 N.E.2d at 494 (emphasis added). “If those interest payments had

been made, the bondholders could have invested those funds, generating income.” Id. Thus, to

obtain full compensation under New York law, Plaintiffs are entitled to “the loss of the time value”

of the missed interest payments, “which can be accomplished only by awarding them statutory

interest on the unpaid interest-only payments.” Id.; see also Wickham Contracting, 955 F.2d at




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837 (prejudgment interest appropriate when party is “deprived of money that it otherwise would

have earned”).

       Venezuela nevertheless urges the Court to deny Plaintiffs any prejudgment interest on

missed biannual interest payments because (it says) Plaintiffs “were fully aware of the risk of

nonpayment” when they purchased the bonds. Venez. Br. 26–27. But the only two cases

Venezuela cites offer no support for that dubious proposition. In the first, the plaintiff-investors

had “recouped not only their initial investment, but also . . . received 10.2 percent return on their

capital, exclusive of additional funds paid to them as the result of several third-party settlements.”

Commercial Union Assurance Co., plc v. Milken, 17 F.3d 608, 612 (2d Cir. 1994). The court

therefore determined that the plaintiffs had already received “a suitable prejudgment interest

substitute,” and simply declined to award even more interest. Id. at 613. In the second, the issuer

had “continue[d] to make timely interest payments on the principal owed.” Deutsche Bank Tr. Co.

Americas v. Am. Gen. Life Ins. Co., No. 15-CV-3869, 2015 WL 5178408, at *2, *4 (S.D.N.Y.

Sept. 4, 2015). The court therefore did not address prejudgment interest on missed interest

payments at all.

       Finally, the Court should not use the federal postjudgment interest rate—which is currently

just over 1.5%—as the prejudgment interest rate here. Venez. Br. 27; Fed. Reserve Bank of St.

Louis, 1-Year Treasury Constant Maturity Rate, https://bit.ly/2v8Vl89. The federal postjudgment

interest statute adopts the interest rate paid by the U.S. government—the most creditworthy

borrower in the world. See Jones, 223 F.3d at 139. An equitable prejudgment interest rate,

however, should “take into account the rate of interest the defendant”—not the U.S. government—

“would have to pay to borrow the money it withheld” from Plaintiffs. Id. (emphasis added). And




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as the 13.625% and 7.75% interest rates on the bonds reveal, New York’s 9% statutory rate is a

much better approximation of Venezuela’s cost of borrowing than the U.S. Treasury rate.

       This Court therefore should award New York’s 9% statutory prejudgment interest rate

regardless whether state or federal prejudgment interest principles apply.

III.   There Is No Need To Establish Fraud-Prevention Mechanisms In These Cases

       Finally, Venezuela argues—for the first time in this litigation—that if the Court denies its

stay request, it should invite briefing on and establish “fraud-prevention and error-prevention

mechanisms” before entry of judgment. Venez. Br. 27. This extraordinary request arises from the

wholly unwarranted speculation that Plaintiffs might obtain “double payment” by fraudulently

selling the beneficial interests upon which they obtain judgment—in violation of (at least) the

federal securities laws. Venez. Br. 28.

       Venezuela cites no case where such a double payment has occurred or even been alleged,

and it cites no precedent for imposing its proposed fraud-prevention safeguards as a condition of

judgment. Most crucially, however, Venezuela has no evidence that Plaintiffs intend to commit a

federal crime. To the contrary, Venezuela has taken discovery in this matter—indeed, Plaintiffs

“cooperated in discovery and provided documents”—and has satisfied itself that “there is no

indication of fraud or corruption” here. Venez. Br. 8. That should end the inquiry—there is no

reason to punish Plaintiffs with further delay in the absence of any evidence that they have or are

planning on committing fraud on the Court.

       And the mere possibility of fraud in potential future litigation does not bear on whether the

Court should promptly enter judgment in these cases. In any litigation, transaction, or commercial

dealing, there is the possibility that one party may elect to break the law and commit fraud. That

remote possibility does not entitle Venezuela to special, extra-contractual considerations and

procedures: “The law presumes, in the absence of evidence to the contrary, that the business


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transactions of every man are done in good faith and for an honest purpose.” Jones v. Simpson,

116 U.S. 609, 615 (1886). Without such evidence, “bad faith or fraud is never presumed and must

be established affirmatively.” Amoco Prod. Co. v. Heimann, 904 F.2d 1405, 1412 (10th Cir. 1990).

If and when Venezuela has actual evidence of fraud, a court may address that issue in the

appropriate case.

         In any event, to the extent there is any merit to Venezuela’s request, the proper course is

not to accept an additional round of briefing, further delaying judgment, but instead to include in

the judgment a direction that Plaintiffs are not to sell the bonds without advising the Court in

advance and obtaining approval, as was done in the Argentina litigation. See Lightwater Corp.

Ltd. v. Republic of Argentina, No. 02-CV-3804, 2003 WL 21146665, at *1 (S.D.N.Y. May 16,

2003).

                                          CONCLUSION

         This Court should deny Venezuela’s request for a stay of any duration and should promptly

enter judgment in favor of Plaintiffs.




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Dated: February 6, 2020                      Respectfully submitted,

Washington, DC and New York, NY

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